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UNITED STATES DISTRICT COURT
FORTHE DlSTRlCT OF COLUMBIA

DARRYL BURKE

Plaintiff

V' Case No. l6-cv-02082

UNITED STATES DEPARTMENT
OF JUSTICE,

Defendant

 

DECLARATION OF DAVID LUCZYNSKI

Pursuant to 28 U.S.C. § 1746, I, David Luczynski, declare the following to be a true and
correct statement of facts:

l. l am an Attomey Advisor with the EXecutive Offrce for United States Attomeys
("EOUSA"), United States Department of Justice (“DOJ”). ln that capacity, my responsibilities
include acting as liaison With other divisions and offices of DOJ in responding to requests and
litigation filed under both the Freedorn of Information Act ("FOIA"), 5 U.S.C. § 552, and the
Privacy Act of 1974, 5 U.S.C. § 552a (“PA”), reviewing FOlA/PA requests for access to records
located in this office and the ninety-four United States Attomeys’ Offices (“USAOs”) and the
case files arising therefrom, reviewing correspondence related to requests, reviewing searches
conducted in response to requests, locating responsive records, and preparing EOUSA responses
to ensure that determinations to withhold or release such responsive records are in accordance
with FOIA, PA, and DOJ regulations, 28 C.F.R. §§ 16.3 e_t M. and §§ l6.40 e_t &q.

2. As an Attomey Advisor of the FOIA/PA Unit, EOUSA, l have the authority to release

and withhold records requested under the FOlA/PA. The Statements I make in this Declaration

 

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are based upon my review of the official files and records of EOUSA, my own personal
knowledge, and information acquired by me through the performance of my official duties.

3. Due to the nature of my official duties, l am familiar with the procedures followed by
this office in responding to the FOIA request(s) made to EOUSA, which include any requests
direct toward a specific United States Attomey’s Office. l have reviewed the Complaint which
this Declaration addresses.

STATEMENT OF FACTS
4. When a FOIA request is submitted to the Executive Office for the United States
Attorneys (“EOUSA”j or an individual United States Attorney’s Office, EOUSA opens a
new file With the requester’s name and assigns it a FOIA reference number. A letter
acknowledging the FOIA request is sent to the requester providing him/her with the FOIA
reference number which helps the parties locate the appropriate request for updates on the status
of the search or processing of the request.

5. Plaintiff’s Complaint does not include a copy of the FOlA request described in the
Complaint, EOUSA’s acknowledgment letter, or the FOIA reference number related to his
request.

6. After receiving Plaintiff’s Complaint, EOUSA searched its records for any FOIA
requests received from Plaintiff Darryl Burke. This search Was performed by a Legal
Administrative Specialist who is responsible for the following: l) processing FOlA/PA requests
for records located in EOUSA and in all of the United States Attomeys’ Offices, 2) reviewing
correspondence related to FOIA/PA requests; 3) reviewing searches conducted by the United

States Attorneys’ Offices in response to requests, 4) locating responsive records, and, 5)

preparing EOU`SA’s responses to ensure that determinations to Withhold or release such l

 

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responsive records are in accordance With FOIA, PA, and DOJ regulations, 28 C.F.R. § 16.3 et
seq. and 16.40 et Seq.

7. EOUSA uses two Computer database Systems (called ORACLE and ACCESSPRO)
to track all FOIA files, litigation, and appeals, as well as any mail and/or correspondence related
to these files. lnformation can be retrieved from both database systems by\`names, court case
numbers, dates of requests, and subjects of r_equests. When any FOIA correspondence is
received, it is date-stamped, entered in a mail log book, and entered in both computer database _
systems by EOUSA’s intake staff.

8. As receiving l?laintiff’s Complaint, a Legal Administrative Specialist employed by
EUOSA searched both the ORACLE and ACCESSPRO systems for any FOIA requests
pertaining to the Plaintiff. As a result of this search, EOUSA located a total of four FOIA
requests submitted by Plaintiff. These four FOIA requests located by EUOSA are
described below in paragraphs ll-l4 and attached as Exhibit 1. However, EUOSA did
not locate any record of receiving the FOIA request described in Plaintiff’s Complaint.

l ln addition to the database search, EOUSA’s Legal Administrative Specialist also
consulted With the staff from the United States Attomey’s Office for Southem District of
Florida (Which was referenced by the FOIA request described in Plaintiffs Complaint), EOUSA
intake staff, a paralegal supervisor Who also conducted a search, and Senior Litigation Counsel,
regarding Whether any additional FOIA requests submitted by Plaintiff had been received. No

additional requests were identified

 

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9. There is no other location or file in EUOSA’s FOIA Office where any other
records related to the Plaintiff would be located other than the locations and files which
have already been searched Further, l am not aware of any other method or means by which
an additional search could be conducted that would be likely to locate any other FOIA requests
submitted by Plaintiff.

lO. To date, EOUSA has not received the FOIA request described in Plaintiff’s
Complaint nor has it received any communication from the Plaintiff regarding this FOIA
request Further, Plaintiff has not filed any appeal of this FOIA request with the Office of
Information Policy (“OIP”).

REOUESTS EOUSA RECEIVED FROM PLAINTIFF

FOIA Request N0.20] 5-] 329

ll. By letter dated January 5, 2015, Plaintiff submitted a FOlA request asking for:
“All documents, faxes FBI reports, handwritten notes, subpoenas and all other documents and
recordings generated between March 21, 2012 and April 2l, 2012 pertaining to criminal case No.
(blank) which arose out of the Southem District of Fla. The response should include any and all
statements or documents signed by those who appeared as witnesses.”
FOIA Reauest N0.201 5 -1 980

l2. By letter dated March 2l, 2015, Plaintiff submitted a FOIA request asking for:
“All sign Real Estate Sale ,Contract, handwritten note, l\lone Prosecutor Agreement, subpoena
from Wells Fargo Bank, Bank America and Faxes. Also All Subpoena sale contract, faxes,
pertain to Eastern Financial. All US Attorney notes for Clarissa Gravey in case No. l3~206l6-
CR-Cohn”

FOIA Rec/uest No. 2015-2145

 

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13. By letter dated April 2, 2015 , Plaintiff submitted a FOIA request asking for:
“All sign Realty Estate Contract, document related All facts and email related to Subpoena from
Wells Fargo reference #376358 Copy attach Wells Fargo declaration, Subpoena reference
#3763 538 pertaining to criminal case No. l3-206l6~CR-Cohen, Southem District of Flon`da.”
FOIA Reauest N0. 2015~298]

_14. By letter dated April 9, 2015 , Plaintiff submitted a FOIA request asking for:
“All notes fax and None Prosecutor Agreement with Laterica Griffin pertaining to criminal case

No. 13~206 l 6-CR-Cohen”

Dated: April 5 , 2017

 

 

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FREEDOM OF INFORMATION`ACT REQUEST

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Dear Sir or Madam:

This is a request under Freedom of Int`ormation Act as amended (5 U.S.C. § 552) in
conjunction with the Privacy Act (5 U.S.C. § 552a). 4

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portions which are reasonably segregate. I, ot` course, reserve my right to appeal the
withholding of deletion of any information

If you have any questions regarding this request, please write me at the below captioned
address.

As provided in the Freedom of Information Act, I expect to receive a reply within ten (10)
work days.

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finger print below executed under penalty for perjury pursuant to 28 U.S.C. § 1746.

 

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relating to my identity herein `are true and correct as identified by my signature and/or my
finger print below executed under penalty for perjury pursuant to'28 U.S.C. § 1746.

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finger print below executed under.penalty f`or perjury pursuant to 28 U.S.C. § 1746. `

 

 

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